                          Case 2:16-cr-20032-JAR Document 846-3 Filed 08/18/20 Page 1 of 2


                                                                                   Attachment 3

                          Additional CCA Custody Call Information (Set 1)
                                        Provided to Court
                                           (07/6/2020)
Name                              Case No          AUSA               Materials Produced to Court


 Hohn, Steven (Baitey)            12-20003-03-CM   Gurney, Morehead   2 media (1 original and 1 copy) containing CCA calls
                                                                      Steven Hohn
                                                                      02-01-2012-02/20/2012




 Rockers, Tracy                   12-20003-CM      Morehead, Gurney   2 media (1 original and 1 copy) containing CCA calls
 (Baitey)                                                             Tracy Rockers
                                                                      02-03-2012-02/20/2012




Wednesday, July 1, 2020                                                                                               Page 1 of 2
                          Case 2:16-cr-20032-JAR Document 846-3 Filed 08/18/20 Page 2 of 2




Name                              Case No         AUSA             Materials Produced to Court


 Villa-Valencia, Luis             16-20008-CM     Krug, Gurney     2 media (1 original and 1 copy) containing CCA calls
 (Cortez-Morales)                                                  Louis Villa-Valencia
                                                                   02-26-2016-03/30/2016

                                                                   (SEE DVD from Bell et al Set 2)




Wednesday, July 1, 2020                                                                                            Page 2 of 2
